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Criminal Notice of Appeal - Form A

NOTICE OF APPEAL
United States District Court
Southern District of New York

Caption:
United States V.

i : 1:22-cr-00105-DLC

Docket No.:
James Velissaris Denise L. Cote
(District Court Judge)

Notice is hereby given that James Velissaris

Appeals for the Second Circuit from the judgment ¥ , other |

appeals to the United States Court of

(specify)
entered in this action on April 7, 2023
(date)

This appeal concerns: Conviction only | Sentence only Conviction & Sentence | ¥ Other [
Defendant found guilty by plea | ¥ | trial | | N/A [
Offense occurred after November 1, 1987? Yes | ¥ No [ N/A [

Date of sentence: April 7, 2023 N/AL__J

Bail/Jail Disposition: Committed | ¥ Not committed | N/A [

Appellant is represented by counsel? Yes ¥ ] No | If yes, provide the following information:

Defendant's Counsel: William R. Martin, Aaron D. Lindstrom, David S. Slovick, Charlotte H. Underwood

Counsel’s Address: 390 Madison Ave. 12th Floor

New York, NY 10017

Counsel's Phone: (202) 371-6363

Assistant U.S. Attorney: Margaret Graham
AUSA’s Address: 1 Saint Andrews Plz, New York, NY 10007-1701

AUSA’s Phone: (212) 637-2300

Signature
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U.S. District Court

New York Southern - Manhattan

Receipt Date: Apr 19, 2023 8:43AM

JAMES VELISSARIS

Rept. No: 15187 Trans, Date: Apr 19, 2023 8:43AM Cashier ID: #ST
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Comments: 22CR105 DLC

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